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                                           1   LARSON ZIRZOW & KAPLAN, LLC
                                               ZACHARIAH LARSON, ESQ.
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                                               MATTHEW C. ZIRZOW, ESQ.
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                                               Nevada Bar No. 7786
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                                               Las Vegas, Nevada 89101
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                                               Fax: (702) 382-1169
                                           9

                                          10                           UNITED STATES BANKRUPTCY COURT
                                          11                              FOR THE DISTRICT OF NEVADA

                                          12   In re:                                            Case No.: BK-S-15-14956-abl
Tel: (702) 382-1170 Fax: (702) 382-1169
 LARSON ZIRZOW & KAPLAN, LLC




                                                                                                 Chapter 11
                                          13   MARC JOHN RANDAZZA,
        Las Vegas, Nevada 89101
          850 E. Bonneville Ave.




                                          14                         Debtor.
                                          15

                                          16               NOTICE OF CHANGE OF FIRM NAME AND EMAIL ADDRESSES

                                          17            PLEASE TAKE NOTICE that Larson & Zirzow, LLC, counsel of record for Marc John

                                          18   Randazza, changed its name to Larson Zirzow & Kaplan, LLC (the “Firm”) effective October 30,

                                          19   2017. Pursuant to Local Rule 5005(d), notice is further given that the email addresses for the

                                          20   Firm’s    attorneys   have   changed   to   the   following:   (a)   Zachariah     Larson,   Esq.

                                          21   (zlarson@lzklegal.com); (b) Matthew C. Zirzow, Esq. (mzirzow@lzklegal.com); (c) Shara L.

                                          22   Larson, Esq. (slarson@lzklegal.com); and (d) Kory Kaplan, Esq. (kkaplan@lzklegal.com).

                                          23            Dated: November 13, 2017.
                                                                                                  By:     /s/ Matthew C. Zirzow
                                          24                                                            LARSON ZIRZOW & KAPLAN, LLC
                                                                                                        ZACHARIAH LARSON, ESQ.
                                          25                                                            MATTHEW C. ZIRZOW, ESQ.
                                          26                                                            SHARA L. LARSON, ESQ.
                                                                                                        850 E. Bonneville Ave.
                                          27                                                            Las Vegas, Nevada 89101

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                                           1
                                                                             CERTIFICATE OF SERVICE
                                           2
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                                                 1. On November 13, 2017, I served the following document(s) (specify):
                                           3
                                           3
                                                    Notice of Change of Firm Name and Email Addresses
                                           4
                                           4
                                           5     2. I served the above-named document(s) by the following means to the persons as listed
                                           5        below:
                                           6        (check all that apply).
                                           6
                                           7               a.      ECF System (You must attach the “Notice of Electronic Filing”, or list all persons
                                           7
                                                                   and addresses and attach additional paper if necessary)
                                           8
                                           8
                                                 JENNIFER WILLIS ARLEDGE on behalf of Creditor BANK OF AMERICA NA
                                           9
                                           9     jennifer.arledge@wilsonelser.com, EfileLasVegas@wilsonelser.com
                                          10
                                          10     OGONNA M. BROWN on behalf of Creditor CLAY DOUGLASS
                                          11     obrown@nevadafirm.com,
                                          11
                                                 apestonit@nevadafirm.com;oswibies@nevadafirm.com;agandara@nevadafirm.com
                                          12
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                                          12
 LARSON ZIRZOW & KAPLAN, LLC




                                                 ARTHUR CARVALHO, JR. on behalf of Creditor EXCELSIOR MEDIA CORP.
                                          13
                                          13     acarvalho@lhcllp.com
        Las Vegas, Nevada 89101




                                          14
          850 E. Bonneville Ave.




                                          14     ARTHUR CARVALHO, JR. on behalf of Creditor LIBERTY MEDIA HOLDINGS, LLC
                                          15     acarvalho@lhcllp.com
                                          15
                                          16     JAMES D. GREENE on behalf of Counter-Defendant EXCELSIOR MEDIA CORP.
                                          16
                                                 jgreene@greeneinfusolaw.com,
                                          17
                                          17     fritchie@greeneinfusolaw.com;kfarney@greeneinfusolaw.com;cwalton@greeneinfusolaw.co
                                          18     m
                                          18
                                          19     JAMES D. GREENE on behalf of Creditor EXCELSIOR MEDIA CORP.
                                          19
                                                 jgreene@greeneinfusolaw.com,
                                          20     fritchie@greeneinfusolaw.com;kfarney@greeneinfusolaw.com;cwalton@greeneinfusolaw.co
                                          20
                                          21     m
                                          21
                                          22     JAMES D. GREENE on behalf of Creditor LIBERTY MEDIA HOLDINGS, LLC
                                          22     jgreene@greeneinfusolaw.com,
                                          23     fritchie@greeneinfusolaw.com;kfarney@greeneinfusolaw.com;cwalton@greeneinfusolaw.co
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                                                 m
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                                          25     JAMES D. GREENE on behalf of Plaintiff EXCELSIOR MEDIA CORP.
                                          25     jgreene@greeneinfusolaw.com,
                                          26     fritchie@greeneinfusolaw.com;kfarney@greeneinfusolaw.com;cwalton@greeneinfusolaw.co
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                                                 JAMES D. GREENE on behalf of Plaintiff LIBERTY MEDIA HOLDINGS, LLC
                                          28     jgreene@greeneinfusolaw.com,
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                                           1     fritchie@greeneinfusolaw.com;kfarney@greeneinfusolaw.com;cwalton@greeneinfusolaw.co
                                           2     m
                                           2
                                           3     VAUGHN MICHAEL GREENWALT on behalf of Creditor EXCELSIOR MEDIA CORP.
                                           3     vgreenwalt@lhcllp.com
                                           4
                                           4
                                                 VAUGHN MICHAEL GREENWALT on behalf of Creditor LIBERTY MEDIA
                                           5     HOLDINGS, LLC
                                           5
                                           6     vgreenwalt@lhcllp.com
                                           6
                                           7     VAUGHN MICHAEL GREENWALT on behalf of Plaintiff EXCELSIOR MEDIA CORP.
                                           7
                                                 vgreenwalt@lhcllp.com
                                           8
                                           8
                                                 VAUGHN MICHAEL GREENWALT on behalf of Plaintiff LIBERTY MEDIA
                                           9     HOLDINGS, LLC
                                           9
                                          10     vgreenwalt@lhcllp.com
                                          10
                                          11     ZACHARIAH LARSON on behalf of Debtor MARC JOHN RANDAZZA
                                          11
                                                 carey@lzlawnv.com, mzirzow@lzlawnv.com;mary@lzlawnv.com;trish@lzlawnv.com
                                          12
Tel: (702) 382-1170 Fax: (702) 382-1169




                                          12
 LARSON ZIRZOW & KAPLAN, LLC




                                                 ZACHARIAH LARSON on behalf of Plaintiff MARC J RANDAZZA
                                          13
                                          13     carey@lzlawnv.com, mzirzow@lzlawnv.com;mary@lzlawnv.com;trish@lzlawnv.com
        Las Vegas, Nevada 89101




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          850 E. Bonneville Ave.




                                          14     VERNON A NELSON, JR on behalf of Creditor BANK OF AMERICA NA
                                          15     vnelson@nelsonlawfirmlv.com, rlynch@nelsonlawfirmlv.com
                                          15
                                          16     U.S. TRUSTEE - LV - 11
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                                                 USTPRegion17.lv.ecf@usdoj.gov
                                          17
                                          17
                                          18     TIMOTHY R. WHEELER on behalf of Creditor BANK OF AMERICA NA
                                          18     timothy.wheeler@wilsonelser.com, daniel.flores@wilsonelser.com
                                          19
                                          19
                                                 MATTHEW C. ZIRZOW on behalf of Counter-Claimant MARC JOHN RANDAZZA
                                          20     mzirzow@lzlawnv.com, carey@lzlawnv.com;mary@lzlawnv.com;trish@lzlawnv.com
                                          20
                                          21
                                          21     MATTHEW C. ZIRZOW on behalf of Debtor MARC JOHN RANDAZZA
                                          22     mzirzow@lzlawnv.com, carey@lzlawnv.com;mary@lzlawnv.com;trish@lzlawnv.com
                                          22
                                          23     MATTHEW C. ZIRZOW on behalf of Defendant MARC JOHN RANDAZZA
                                          23
                                                 mzirzow@lzlawnv.com, carey@lzlawnv.com;mary@lzlawnv.com;trish@lzlawnv.com
                                          24
                                          24
                                          25     MATTHEW C. ZIRZOW on behalf of Plaintiff MARC J RANDAZZA
                                          25     mzirzow@lzlawnv.com, carey@lzlawnv.com;mary@lzlawnv.com;trish@lzlawnv.com
                                          26
                                          26     MATTHEW C. ZIRZOW on behalf of Plaintiff MARC JOHN RANDAZZA
                                          27     mzirzow@lzlawnv.com, carey@lzlawnv.com;mary@lzlawnv.com;trish@lzlawnv.com
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                                           1               b.      United States mail, postage fully prepaid
                                                                   (List persons and addresses. Attach additional paper if necessary)
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                                           3     I declare under penalty of perjury that the foregoing is true and correct.
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                                           4
                                                 Signed on (date): November 13, 2017
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                                           6
                                           6        Carey Shurtliff                                  /s/ Carey Shurtliff
                                           7     (Name of Declarant)                                 (Signature of Declarant)
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Tel: (702) 382-1170 Fax: (702) 382-1169




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 LARSON ZIRZOW & KAPLAN, LLC




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        Las Vegas, Nevada 89101




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          850 E. Bonneville Ave.




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